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Exhibit K
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United States District Court
District of New Jersey
Trenton Division

Andrew Ritz and Michael Ritz, Case No. 3:20-cv-13509-FLW-DEA
Plaintiffs,

¥.

Nissan-Infiniti LT; Trans Union, :
LLC; Equifax Information
Services, LLC; and Experian
Information Solutions, Inc.,

Defendants.

Responses to Nissan’s First
Set of Interrogatories, Andrew Ritz

1. Identify the person answering these Interrogatories, all persons who assisted
in the preparation of the answers, and state how each person participated in
the preparation of the answers and identify their Social Security numbers.

Response: Plaintiff objects to this interrogatory on the grounds that it
seeks information protected by the attorney client privilege and work
product doctrine. Plaintiff objects to this request on the grounds that it is
overly broad in that it seeks the social security number of Plaintiff's counsel.
That information will not be provided. Subject to these objections, Plaintiff
identifies the following persons: Andrew Ritz and Guerino Cento.

io State your full name (complete first name, middle name, and last name},

nicknames, former names, and/or aliases which you have used and the

]
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Document Description Bates Numbers

Experian Disclosure (EXPERIAN _20- EXPERIAN_20-

cv-13509_00406_AR-EXPERIAN_20- cv-13509_00409

ev-13509_ 00413 AR) AR-
EXPERIAN 20-
cv-13509 00410
AR

6. With respect to each application or extension of credit identified in response

to the preceding Interrogatory, state whether you allege that any action and/
or inaction of NMAC or any other person or entity affected such application
for or extension of credit in any way. If so, please specify what effect such
action and/or inaction allegedly had, including but not limited to, the denial!
of credit, any increase in variance in the applicable interest rate (and the
amount of such increase, if any), any variance in any of the terms of the
transaction, identify all persons with knowledge of the foregoing and state
the details of their knowledge.
Response: Not applicable. See Response to Interrogatory No. 5.

7. Identify each and every inaccuracy you contend exists or ever existed in any
consumer report or disclosure prepared by any consumer reporting agency,
which forms the basis of this suit. With regards to each such alleged
inaccuracy, identify: (a) the date and preparer of the consumer report or
disclosure in which it appeared; (b) the date upon which you first became

aware of the alleged inaccuracy, and how you became aware of it; (c) what
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you contend is inaccurate and why; and (d) all persons with knowledge of
the foregoing and state the details of their knowledge.

Response: Nissan inaccurately reported Plaintiff's Nissan account
payment history. Plaintiff made each payment due on the Nissan account on
time and was never late. All reporting which reflects a late payment or an
amount due which exceeds the actual amount due was inaccurate, including
the reporting of a late payment in August 2019, September 2019 or October
2019. The inaccurate payment history existed on the consumer reports which
can be identified by reference to the inquiries posted to Plaintiff's credit files

as shown on the following documents:

Document Description Bates Numbers

Trans Union Disclosure (TU-000 106-TUO001 15) TU-0001 11
Equifax ACIS Auto Maintenance (EFX-RITZ000122- EFX-RITZ000122-

EFX-RITZ000135) EF X-RITZ000123

Experian Disclosure (EXPERIAN_20- EXPERIAN 20-

cv-13509_ 00406 AR-EXPERIAN _20- cv-13509_00409_

cv-13509 00413 AR) AR-
EXPERIAN 20-
cv-13509_00410_
AR

The inaccurate payment history also existed on the following disclosures:
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Around 2000, I experienced a credit meltdown due to mismanaging
my credit. | had one card from that point, a Washington Mutual Bank Visa or
MasterCard, which later became a Chase Slate Visa. Through years of
diligence and hard work, 1 built my credit history back to even better than
before; a better than 800 FICO score when I walked into the Freehold, NJ,
Nissan dealership with my father in May 2017.

My father is my only living, immediate family. 1 need the best credit
history available to weather when it is only me. 1 have arm nerve damage
from a 2010 work-related fracture/dislocation accident. This makes for a
very difficult time in the job market. Every effort must be made to with my
current employer (11 years now). Having a solid credit history is ever more
critical.

I've had conversations with my father about must having solid credit
and what that can make happen for me. Buying a new or used car and
purchasing insurance for it; renting a place to live; buying a place to live
(my ultimate goal). Without the level of credit history 1 had already achieved
before the Nissan lease experience, I can't imagine how much morc difficult
(or impossible) for these things to happen.

The Nissan Lease Extension Agreement clearly stated thal Nissan
wanted their car returned no later than Aug 09, 2019. There wasn't to be

additional extension (via NMAC chat, 07-23-2019). On the moming of

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08-09-2019, at the Freehold, NJ, Nissan leasing dealership, the Sales
Manager did not want to return the car without an appointment. The fease
contract doesn't have any requirement for an appointment to return the car
end-of-lease -- only to return to a Nissan dealer or other location specified
by Nissan. I offered a copy of the lease agreement to the Sales Manager,
showing him that Nissan wanted their property back no later than that day.
My only choice was to leave the car on the fot, let him know the car was
on his lot (he threatened to have the car towed back to my house), leave both
keys to the car on his desk (he later tollowed us on to the lot where the
retumed car was and yelled, “You'll never get another car!” as we were
driving away in a different car), and surrender both license plates to the
Freehold, NJ Motor Vehicle Services office and get a receipt for them. If |
happened to keep the car past this day, my thinking was that I would havc to
make another lease payment of $181.51. A payment that would have to be
credited to my lease account that very day or a iate payment and default,
which would be my error. | would also be holding on to the car without the
owner's permission.

Once home on Aug 09, [ relayed via Nissan Finance Portal chat
function what had happened at the dealership, where their car was now
located, and the condition if was returned in (washed, vacuumed and within

the mileage allowance). I paid the End Of Lease Statement, received on time

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them chat, the lease contract and extension agreement, to illustrate what
could easily be seen with them. That I retumed the car according to
instructions, where and on the date 1 was supposed to, and had paid every
amount owed before the dates due.

Every waking and non-waking moment was occupied with how to fix
this — who to contact and who to write a letter to. If my credit was
irreparably wrecked for any period of time with this, how to buy a car with a
recent late experience on a car lease? Replacing the 2017 Nissan was a 2003
Toyota with high mileage.

My father and I had frequent discussions about what to do. What
could be done? On 09-20-2019, there was a phone call to NMAC with
Shanella and later Tee of Lease Maturity. The car wasn't “grounded”. I was
angry. This was wrecking my credit. Tee arranged for my father and [ to go
the the Freehold, NJ, Nissan dealership to complete an Odometer Statement
{the Sales Manager wasn’t handing us required paperwork on Aug 09). Once
at the dealership, we were shown a table in the showroom to wait. The Sales
Manager came by with the Odometer form and [ began filling it out. The
Sales Manager was standing over me and watching as [ was filling it out. I
wrote that day's date where it was supposed to go and also that the car was
actually retumed on Aug 09, 2019. The Sates Manager grabbed the form off
of the table, ripped it up, and told me, “You can’t write that’. Other

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customers in the showroom were watching us. He told us to follow him to
his office. ] was angry and embarrassed. It was the way he spoke down to us.
He calied Tee at NMAC. Once I got a chance to speak, I told Tee that having
only 09-20-2019 as the only date on the form was misleading — the car
actually was returned on 08-09-2019. | wanted to make the form more
accurate.

My father and 1 left and retumed home. Either | called Tee or she
called us, can't remember. She relayed that the car had been “grounded” by
the dealership, and within the mileage allowance. A letter on the dealership's
letterhead had been prepared. She would fax me a copy, which she did.

On 09-26-2019, 1 contacted NMAC via chat (later considered a verbal
dispute by NMAC). Even though vehicle “grounding” was now complete,
nothing was being corrected. 1 was stil] being billed (due 09-25-2019). 1 was
worried about my existing creditors. Each of them perform periodic Account
Review, and noted on credit reports. My creditors write in their Account
Agreements that upon negative information by another creditor, they can
raise my interest rate, lower my credit limit, or cancel my credit card with
them altogether. 1 was looking to have Nissan's incorrect late payment
reporting removed as soon as possible, to protect my existing credit.

09-13-2019 -- online Equifax, Experian, and Trans Union disputes.

10-04-2019 — 1 viewed my Experian credit report via their website.

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facts regarding NISSANINFINITI LT, or the correct context of it. Hmmm,
why is the grid suppressed? This never ends. This issue has been ongoing for

nearly two years.
4. —_ Identification and Quantification of Damages

Pecuniary Damages: Plaintiff identifies, describes and quantifies the

following pecuniary damages:!°

Pecuniary Damages Amount

Credit Denials Ss 0.00
Lost Job Opportunities S 0.00
Insurance Denials § 5,000.00
Financial Loss S$ 7,700.00
Delay in Obtaining Approval for Credit $ 38,500.06
Loss of Credit Opportunity S 38,500.00
Out-Of-Pocket Expenses $ 300.00
Time Expended in Disputing Errors 5 10.000.00

$ 100,000.00

These itemizations are based upon information currently known and,
therefore, are subject to change as discovery continues.
Non-Pecuniary Damages: Plaintiff identifies, describes and quantities

the following non-pecuniary damages:!!

\0 Amounts are based in part on prior relevant FCRA jury verdicts.

it Amounts are based in part on prior relevant FCRA jury verdicts.

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Non-Pecuniarv Damages Amount

Loss of Sleep S$ 7,500.00
Nervousness S 7,500.00
Frustration S$ 17,500.00
Mental Anguish Over Consumer Report $ 17,500.00
Injury to Reputation S$ 5,000.00
Injury to Family Work and Sense of Well Being $ 7,500.00
Humiliation S 7,500.00
Embarrassment S 7,500.00
Mental Distress S$ 15,000.00
Future Damages for Continuing Violation $ 7,500.00

$ 100,000.00

These itemizations are based upon information currently known and,
therefore, are subject to change as discovery continues.
Punitive Damages: At trial Plaintiff intends to seek punitive damages

for Nissan’s willful violations in the amount of $5 million dollars.!2

12. If you contend you have experienced any sort of physical, mental or
emotional distress as the result of any alleged action or inaction of NMAC or
any other person or entity, describe with particularity each symptom you
claim to have experienced, the frequency and severity of each symptom, the
names of all persons with knowledge of the foregoing and the details of their

knowledge, and state whether you have ever suffered them or sought

12 Amounts are based in part on prior relevant FCRA jury verdicts.

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Verification

I, Andrew Ritz, have read the foregoing interrogatories and the answers to

those interrogatories, which are true according to the best of my knowledge,

information and belief. I declare under penalty of perjury that the foregoing is true

and correct.
VERONICA C GRYGO &
4 Notary Public - State of New Jersey

ission Expires Sep 5, 2024
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's/Guerino Cento
Guerino Cento Ser OF INTERROGATORIES Ase) Ure

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